Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document      Page 1 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document      Page 2 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document      Page 3 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document      Page 4 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document      Page 5 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document      Page 6 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document      Page 7 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document      Page 8 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document      Page 9 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 10 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 11 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 12 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 13 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 14 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 15 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 16 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 17 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 18 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 19 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 20 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 21 of 22
Case 15-56724-bem   Doc 46    Filed 08/04/15 Entered 08/04/15 09:39:24   Desc Main
                             Document     Page 22 of 22
